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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                        Case No. 14‐CR‐0403(6) (PJS/FLN)
                                                     Case No. 16‐CV‐2183 (PJS)
                      Plaintiff,

 v.
                                                                ORDER
 DEJAUN PIERRE DARKYSE
 WASHINGTON,

                      Defendant.


       This matter is before the Court on defendant Dejaun Pierre Darkyse

Washington’s motion to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255.

See ECF Nos. 350, 362, 385.1 Washington argues that his sentence should be corrected

because (1) he was improperly classified as a career offender, and (2) he should have

been granted a minor‐role reduction under Amendment 794 to Section 3B1.2 of the

United States Sentencing Guidelines. The Court disagrees on both counts and thus

denies Washington’s § 2255 motion.

                                   I. BACKGROUND

       Washington pleaded guilty to aiding and abetting the distribution of cocaine

base in violation of 18 U.S.C. § 2 and 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). See ECF



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          Washington labeled the last two of his three filings as motions “to amend” his
first filing. The Court will treat all three filings as a single § 2255 motion for the
purposes of this order.
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Nos. 109, 161‐62. Washington had prior felony convictions for simple robbery (Minn.

Stat. § 609.24) and first‐degree assault (Minn. Stat. § 609.221, subd. 1). PSR ¶¶ 76‐77.

The parties agreed that both of these convictions were crimes of violence for purposes

of § 4B1.2(a). Based on this conclusion, the parties further agreed that Washington

qualified as a career offender under § 4B1.1. See Plea Agreement ¶ 7(a); PSR ¶ 9. The

Court concluded that Washington’s total offense level was 29 (after applying a

three‐level reduction for acceptance of responsibility); that his criminal history category

was VI; and that his Guidelines range was 151 to 188 months. The Court then varied

downward and sentenced Washington to 120 months in prison. ECF No. 319 at 2; ECF

No. 320 at 1. Four months later, Washington brought this § 2255 motion.

                                      II. ANALYSIS

                                    A. Career Offender

       Washington’s first claim is that he was improperly classified as a career offender

when he was sentenced. The Court rejects this claim for two reasons.

       First, this claim is not cognizable under § 2255. Section 2255 does not provide a

remedy for “all claimed errors in conviction and sentencing.” Sun Bear v. United States,

644 F.3d 700, 704 (8th Cir. 2011) (en banc) (quoting United States v. Addonizio, 442 U.S.

178, 185 (1979)). Rather, its text allows federal prisoners to challenge a sentence that

“was imposed in violation of the Constitution or laws of the United States, or that . . .



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was in excess of the maximum authorized by law, or is otherwise subject to collateral

attack.” 28 U.S.C. § 2255(a). This language “provides a remedy for jurisdictional and

constitutional errors” that would “inherently result[] in a complete miscarriage of

justice.” Sun Bear, 644 F.3d at 704 (quoting Addonizio, 442 U.S. at 185). But “ordinary

questions of guideline interpretation” generally “may not be re‐litigated under § 2255,”

as long as the defendant’s sentence does not “exceed[] the statutory maximum for the

offense of conviction.” Id. at 704‐06 (citations omitted).

          Washington’s sentence of 120 months was well beneath the 20‐year statutory

maximum for his offense. Therefore, to the extent that his first claim alleges that the

Court erred in calculating his Guidelines range, this claim is not cognizable under

§ 2255.

       Second, even if this claim were cognizable under § 2255, it would fail on the

merits. Washington argues that his simple robbery conviction does not qualify as a

“crime of violence” under § 4B1.2’s residual clause, see ECF No. 350 at 13‐14 (citing

Johnson v. United States, 135 S. Ct. 2551, 2556‐63 (2015)), or as an enumerated offense

under the commentary to the 2015 version of § 4B1.2, see ECF No. 385 at 1 (citing United

States v. Bell, 840 F.3d 963, 967‐69 (8th Cir. 2016)). Earlier this year, however, the

Supreme Court held that the residual clause of § 4B1.2—unlike the residual clause of the

Armed Career Criminal Act—was not subject to vagueness challenges under the Due



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Process Clause. Beckles v. United States, 137 S. Ct. 886, 892‐95 (2017). In addition—and

independent of the question of whether simple robbery under Minnesota law qualifies

as a “crime of violence” under the residual clause or qualifies as an enumerated offense

under the commentary to § 4B1.2—simple robbery under Minnesota law is a “crime of

violence” under § 4B1.2’s force clause. See United States v. Jennings, 860 F.3d 450, 452‐57

(7th Cir. 2017); United States v. Taylor, No. 15‐CR‐0091(1) (JNE/LIB), 2017 WL 506253, at

*3‐7 (D. Minn. Feb. 7, 2017) (explaining why robbery under Minn. Stat. § 609.24

necessarily involves “violent” force). Therefore, the Court did not err when it treated

Washington’s simple robbery conviction as a “crime of violence” under the Guidelines

for sentencing purposes.

                                    B. Amendment 794

       Washington also argues that he should have been granted a minor‐role reduction

under Amendment 794 to § 3B1.2. The Court rejects this claim for two reasons.

       First, a claim arguing for retroactive application of Amendment 794 must be

brought as a § 3582 motion, not a § 2255 motion. See United States v. Bazaldua,

No. 06‐CR‐0100 (JNE/JSM), 2016 WL 5858634, at *2 (D. Minn. Oct. 5, 2016). Such claims

are not cognizable under § 2255. Id.

       Second, even if the Court were to construe Washington’s claim as a § 3582 motion,

it would still fail. The Court can lower Washington’s sentence under § 3582(c)(2) only if



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Washington was “sentenced to a term of imprisonment based on a sentencing range that

has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o)

. . . after considering the factors set forth in section 3553(a) to the extent that they are

applicable, if such a reduction is consistent with applicable policy statements issued by

the Sentencing Commission.” 18 U.S.C. § 3582(c)(2) (emphasis added). Washington

was sentenced on February 24, 2016, several months after Amendment 794 took effect on

November 1, 2015. See ECF No. 319; cf. ECF No. 243 ¶ 52 (noting that “[t]he 2015

Guidelines Manual, incorporating all guideline amendments, was used to determine the

defendant’s offense level” (emphasis added)); 18 U.S.C. § 3553(a)(4)(A)(ii) (requiring

courts to use the Guidelines that “are in effect on the date the defendant is sentenced”).

In other words, when the Court sentenced Washington, it applied the Guidelines as

amended by Amendment 794.2 Therefore, even if Washington had brought this claim

under § 3582, it would fail on the merits.

                                           ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT defendant Dejaun Pierre Darkyse Washington’s


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        Although the Court chose not to depart downward under § 3B1.2, the Court
explicitly acknowledged that Washington was among the least culpable—if not the least
culpable—of the defendants in the case, and gave Washington a substantial downward
variance as a result. The Court would not have both departed and varied based on
Washington’s limited role in the offense; thus, if Washington had received a departure
under § 3B1.2, that departure would have been offset—month‐for‐month—by a
reduction in the amount of the downward variance under 18 U.S.C. § 3553(a).

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motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 [ECF

Nos. 350, 362, 385] is DENIED.


 Dated: September 29, 2017                    s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




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